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                                                                         5                                IN THE UNITED STATES DISTRICT COURT
                                                                         6                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         7
                                                                              IN RE: CATHODE RAY TUBE (CRT)                           )   MDL No. 1917
                                                                         8    ANTITRUST LITIGATION                                    )
                                                                                                                                      )   Case No. 07-cv-5944 JST
                                                                         9                                                            )
                                                                                                                                      )   ORDER UPON TRANSFER OF THIS
                                                                         10   This Order Relates To:                                  )   MDL TO JUDGE JON S. TIGAR
                               For the Northern District of California
United States District Court




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                                                                         11                                                           )
                                                                              ALL ACTIONS                                             )
                                                                         12                                                           )
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                                                                         14           This Multidistrict Litigation ("MDL") case was reassigned to the undersigned today by
                                                                         15   separate order. The purpose of this order is to ensure a smooth transition, identify and prioritize the
                                                                         16   unresolved issues currently pending before the Court, and establish a framework for the orderly and
                                                                         17   efficient resolution of the case.
                                                                         18           The parties shall change the initials at the end of the case number from "SC" to "JST" in all
                                                                         19   filings on or following the date of this order. Except as set forth herein, all prior orders relating to
                                                                         20   case procedure, the filing of motions, and similar matters shall remain in effect. If there are any
                                                                         21   conflicts between prior orders and this one, however, this order shall control. Appointments of
                                                                         22   Special Masters remain in effect as originally issued. The Court will continue the practice of
                                                                         23   requiring that all appearances be in person without exception.
                                                                         24           All counsel must immediately become familiar with the Northern District’s Guidelines for
                                                                         25   Professional Conduct, located at http://www.cand.uscourts.gov/professional_conduct_guidelines.
                                                                         26   An attorney’s continued appearance as counsel of record in this case constitutes an affirmative
                                                                         27   representation of familiarity with these rules.
                                                                         28           When the case was transferred, all pending hearings were vacated as a routine byproduct of
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                                                                         1    that transfer. Certain matters require immediate rescheduling, however, and the Court accordingly
                                                                         2    sets the following times and dates for hearings on the following matters:
                                                                         3            1.      To assist the Court in effectively managing the case, the Court sets a status
                                                                         4    conference on December 15, 2015 at 9:30 a.m.
                                                                         5            2.      The motion for Direct Purchaser Plaintiff (DPP) attorneys' fees, previously noticed
                                                                         6    for October 23, 2015, shall be heard on December 15, 2015 at 9:30 a.m. Insofar as any party has
                                                                         7    requested the matter be decided without a hearing, see ECF No. 4114, the request is DENIED.
                                                                         8            3.      The hearing on final approval of the pending settlement between the Thomson
                                                                         9    Defendants and the DPPs, previously noticed for October 23, 2015, shall be heard on December 15,
                                                                         10   2015 at 9:30 a.m.
                               For the Northern District of California
United States District Court




                                                                         11           4.      The hearing on final approval of the pending settlement for all Indirect Purchaser
                                                                         12   Plaintiff (“IPP”) class cases, previously noticed for 10 a.m. on November 13, 2015, shall be heard
                                                                         13   on a date in late January 2016 or sometime in February 2016. The parties are ordered, within 14
                                                                         14   days of the date of this order in a single, joint submission, to identify a date for this hearing.
                                                                         15   Assuming a reply brief deadline of January 8, 2015, the Court is currently available for hearing on
                                                                         16   the following dates: January 25, 2016; February 8, 2016; February 9, 2016; February 22, 2016; and
                                                                         17   February 23, 2016, all at 2:00 p.m.
                                                                         18           5.      A trial setting hearing shall be set for the first available date on the Court's calendar
                                                                         19   for civil law motions not fewer than two weeks following the Fairness Hearing for IPP class cases.
                                                                         20           All of the above-listed hearings shall be held in Courtroom 9, 19th Floor, 450 Golden Gate
                                                                         21   Avenue, San Francisco, CA 94102.
                                                                         22           A joint case management conference statement is due within 14 days of the date of this
                                                                         23   order. The Court is familiar with the contents of the statement filed July 28, 2015, ECF No. 3939,
                                                                         24   and the parties need only provide updates to the information contained in that statement. In
                                                                         25   addition, the parties are ordered to include as an attachment to their joint statement a single joint
                                                                         26   appendix that includes a list of those motions which still require action by the Court in light of
                                                                         27   finalized settlements or pending settlements. The parties may use a format similar to the charts they
                                                                         28   submitted previously in this case to the Court or to former Special Master Larson, or any other



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                                                                         1    format that makes the information and organization clear. The parties are further ordered to include
                                                                         2    in the same filing an updated edition of the 1-page chart submitted at ECF No. 3998-1 and an
                                                                         3    updated list of any currently pending motions that can now be entirely dismissed as moot.
                                                                         4           The undersigned shares Judge Conti’s belief that a firm trial date is in the interest of the
                                                                         5    Court and all parties. The Court therefore orders the parties to prepare for trial to be set on a date
                                                                         6    shortly following the trial-setting hearing referenced herein. See ECF No. 3969 at 10-11.
                                                                         7           IT IS SO ORDERED.
                                                                         8    Dated: November 3, 2015
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                                                                                                                                ______________________________________
                                                                         10                                                                    JON S. TIGAR
                               For the Northern District of California
United States District Court




                                                                         11                                                              United States District Judge

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